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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION

 FRANCISCAN ALLIANCE, INC. et al.,                §
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §   Civil Action No. 7:16-cv-00108-O
                                                  §
 XAVIER BECERRA, Secretary of the                 §
 United States Department of Health and           §
 Human Services; and UNITED STATES                §
 DEPARTMENT OF HEALTH AND                         §
 HUMAN SERVICES,                                  §
                                                  §
        Defendants.                               §

                                             ORDER

       Before the Court are Defendants’ Motion to Amend/Correct Memorandum Opinion and

Order, (ECF No. 208), filed September 13, 2021; Plaintiffs’ Response (ECF No. 209) filed

September 24, 2021; and Defendants’ Reply (ECF No. 210), filed September 28, 2021. The Court

notes, as pointed out in Plaintiffs’ Response (ECF No. 209), the contradictions between

Defendants’ previous arguments in this litigation, claiming enforcement of Section 1557 “is purely

speculative” (ECF. No. 202, 18), and Defendants’ current argument, claiming it has a “statutory

obligation[]” to “enforce Section 1557” (ECF No. 208, 4).           Regardless, the Motion being

unopposed, the Court finds it should be GRANTED. The following language is hereby added to

the Conclusion of the Court’s August 16, 2021 Memorandum Opinion and Order (ECF No. 206):

       HHS does not violate this order by taking any of the above-described actions
       against Plaintiffs, their current or future members, or those acting in concert or
       participation with them, including their respective health plans and any insurers or
       third-party administrators in connection with such health plans, if the agency
       officials directly responsible for taking these actions are unaware that an entity is a
       member of one of the Plaintiffs or has a relevant relationship to one of the
       Plaintiffs/Plaintiff-members.



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    However, if HHS, unaware that an entity is a member of one of the Plaintiffs or has
    the relevant relationship to one of the Plaintiffs/Plaintiff-members, takes any of the
    above-described actions, the member and the relevant Plaintiff may promptly notify
    a directly responsible agency official of the fact of the member’s membership or
    the entity’s relevant relationship to the member and its protection under this order.
    Once such official receives such notice from the member and verification of the
    same by the relevant Plaintiff, the agency shall promptly comply with this order
    with respect to such member or related entity.

    SO ORDERED on this 1st day of October, 2021.



                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE




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